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        United State District Court – District of New Jersey
        The Honorable Jose R. Almonte, USMJ
        Frank R. Lautenberg U.S. Post Office & Courthouse Building
        2 Federal Square
        Newark, NJ 07102

        RE:      Tyrone Ellison vs. State of New Jersey, et al.
                 Civil No.: 2:22-cv-05001-BRM-JRA
                 Status of the Case Summary

        Your Honor:

               Pursuant to your Order dated October 23, 2023, please allow this letter to serve as a Status of the
        Case Summary.

                 Plaintiff Ellison has provided written discovery responses to Defense Counsel and has provided
        signed authorizations as requested. The Defendants’ have also provided written discovery responses to
        Plaintiff’s counsel.

                Plaintiff Tyrone Fuquan Ellison had his deposition taken on November 21, 2023. Defendants’
        depositions are currently scheduled to occur on January 30 and 31, 2024.

                 Plaintiff’s counsel is also in the process of securing a liability and damages expert.

                Ms. Kristol has reviewed the contents of this letter prior to filling and agrees with the statements
        contained herein.

                 Thank you for your consideration.

                                                           Very truly yours,
                                                           /s/ Jonathan R. Ivans
                                                           JONATHAN R. IVANS, ESQUIRE

        JRI/tp

        cc: Rachel Kristol, Esquire
